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 Attorneys for Defendants

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

 In re                                                    Chapter 7
         TRANSCARE CORPORATION, et al.,                   Case No. 16-10407 (SMB)
                                                   1
                                         Debtors.         (Jointly Administered)
 SALVATORE LAMONICA, as Chapter 7 Trustee
 for the Estates of TransCare Corporation, et al.,        Adv. Proc. No. 18-01021
                                 Plaintiff,
          v.
 LYNN TILTON, et al.,
                                 Defendants.


              DECLARATION OF NICOLE A. EICHBERGER, ESQ.
     IN SUPPORT OF DEFENDANTS’ MOTION TO DISMISS CERTAIN CLAIMS
      ASSERTED IN THE CHAPTER 7 TRUSTEE’S ADVERSARY COMPLAINT

         Nicole A. Eichberger, Esq. declares, pursuant to 28 U.S.C. §1746 and under penalty of

perjury, that the following is true and correct:
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          1.              I am a partner at the law firm Proskauer Rose LLP, counsel of record for

Defendants1 in this action. I make this Declaration on personal knowledge and submit it in

support of Defendants’ Motion to Dismiss Certain Claims Asserted in the Chapter 7 Trustee’s

Adversary Complaint.

          2.              Attached hereto as Exhibit A is a true and correct copy of excerpts from

the Credit Agreement between TransCare Corporation and Patriarch Partners Agency Services,

LLC, as Administrative Agent, dated August 4, 2003.2


Dated: May 4, 2018




                                                                  Nicole A. Eichberger, Esq.




1
 The Defendants in this adversary proceeding are: Lynn Tilton, Patriarch Partners Agency Services,
LLC, Patriarch Partners, LLC, Patriarch Partners Management Group, LLC, Ark II CLO 2001-1, Limited,
Ark Investment Partners II, L.P., LD Investments, LLC, Patriarch Partners II, LLC, Patriarch Partners III,
LLC , Patriarch Partners VIII, LLC, Patriarch Partners XIV, LLC, Patriarch Partners XV, LLC,
Transcendence Transit, Inc., and Transcendence Transit II, Inc.
2
    Confidential information contained in Exhibit A has been redacted.

                                                      2
